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             EXHIBIT 29
    Redacted Version of
Document Sought to be Sealed
     Case 4:20-cv-05146-YGR   Document 808-15      Filed 08/03/22   Page 2 of 9


 1                IN THE UNITED STATES DISTRICT COURT
 2              FOR THE NORTHERN DISTRICT OF CALIFORNIA
 3                          SAN JOSE DIVISION
 4                              ---o0o---
 5    PATRICK CALHOUN, et al.,        )
      on behalf of themselves and     )
 6    all others similarly            )
      situated,                       )
 7                                    )
                 Plaintiffs,          )Case No.
 8                                    )5:20-cv-5146-LHK-SVK
      vs.                             )
 9                                    )
      GOOGLE LLC,                     )
10                                    )
                 Defendant.           )
11    ______________________________)
      CHASOM BROWN, et al.,           )
12    on behalf of themselves and     )
      all others similarly            )
13    situated,                       )
                                      )
14               Plaintiffs,          )Case No.
                                      )5:20-cv-03664-LHK
15    vs.                             )
                                      )
16    GOOGLE LLC,                     )
                                      )
17               Defendant.           )
      ______________________________)
18                              ---o0o---
                     Videotaped Zoom Deposition of
19                      HUEI-HUNG (CHRIS) LIAO
20                CONFIDENTIAL, ATTORNEYS' EYES ONLY
21                    Thursday, December 2, 2021
22                              ---o0o---
23    Job No.: 4893183
24    Katy E. Schmidt
      RPR, RMR, CRR, CSR 13096
25    Pages 1 - 218

                                                                       Page 1

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 1         IN THE UNITED STATES DISTRICT COURT
 2       FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                             1 APPEARANCES CONTINUED:
 3               SAN JOSE DIVISION                                           2 Also present:
 4                  ---o0o---
 5 PATRICK CALHOUN, et al ,             )                                    3       David West, Videographer
   on behalf of themselves and )                                             4       Lillian Dye, Consultant
 6 all others similarly         )
   situated,                )                                                5       Zubair Shafiq, Expert
 7                      )
          Plaintiffs,       )Case No
                                                                             6       Ryan McGee, In-house counsel
 8                      )5:20-cv-5146-LHK-SVK                                7       Toni Baker, In-house counsel
   vs                     )
 9                      )                                                    8
   GOOGLE LLC,                    )
10                      )
                                                                                              ---o0o---
          Defendant           )                                              9
11 ______________________________)
   CHASOM BROWN, et al ,              )                                     10
12 on behalf of themselves and )                                            11
   all others similarly         )
13 situated,                )                                               12
                        )
14        Plaintiffs,       )Case No
                                                                            13
                        )5:20-cv-03664-LHK                                  14
15 vs                     )
                        )                                                   15
16 GOOGLE LLC,                    )                                         16
                        )
17        Defendant           )                                             17
   ______________________________)
18
                                                                            18
          BE IT REMEMBERED that, pursuant to Notice, and                    19
19 on Thursday, the 2nd day of December, 2021, commencing
   at the hour of 8:33 a m , thereof, in Sunnyvale,                         20
20 California, before me, KATY E SCHMIDT, a Certified
   Shorthand Reporter in and for the County of Yolo, State
                                                                            21
21 of California, there virtually personally appeared                       22
22             HUEI-HUNG (CHRIS) LIAO
23 called as a witness herein, who, being by me first duly                  23
   sworn, was thereupon examined and interrogated as                        24
24 hereinafter set forth
25                                                                          25
                                                                   Page 2                                               Page 4
 1 APPEARANCES:
 2 For The Plaintiffs:
                                                                             1           INDEX OF EXAMINATION
 3             (Appeared via Zoom)                                           2               ---o0o---
 4       BLEICHMAR FONTI & AULD LLP
         BY: LESLEY WEAVER, Esq                                              3                           Page
 5       555 12th Street, Suite 1600
         Oakland, California 994607
                                                                             4 Examination by Mr. Barnes      10
 6       415 445 4003                                                        5               ---o0o---
         lweaver@bfalaw com
 7                                                                           6
               (Appeared via Zoom)
                                                                             7      QUESTIONS INSTRUCTED NOT TO ANSWER
 8
         SIMMONS HANLY CONROY                                                8
 9       BY: JASON "JAY" BARNES, Esq
         BY: AN TRUONG, Esq                                                  9             Page    Line
10       One Court Street                                                   10
         Alton, Illinois 62002
11       618 693 3104                                                       11            (NOTHING OFFERED.)
         jaybarnes@simmonsfirm com
12
                                                                            12               ---o0o---
               (Appeared via Zoom)                                          13
13
         BOIES SCHILLER FLEXNER LLP                                         14
14       BY: MARK MAO, Esq
         BY: BEKO RICHARDSON, Esq
                                                                            15
15       BY: ERIKA NYBORG-BURCH, Esq                                        16
         44 Montgomery Street, 41st Floor
16       San Francisco, California 94104                                    17
         415 293 6800
17       mmao@bsfllp com
                                                                            18
18 For The Defendants:                                                      19
19             (Appeared via Zoom)
20       Quinn Emanuel Urquhart & Sullivan LLP                              20
         BY: JOSEF ANSORGE, Esq                                             21
21       BY: TRACY GAO, Esq
         51 Madison Avenue, 22nd Floor                                      22
22       New York, New York 10010
         212 849 7000                                                       23
23       josefansorge@quinnemanuel com                                      24
24 ///
25 ///                                                                      25
                                                                   Page 3                                               Page 5

                                                                                                               2 (Pages 2 - 5)
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 1               INDEX OF EXHIBITS
 2                  ---o0o---
                                                                                     1             SUNNYVALE, CALIFORNIA
 3                                  Page                                             2        THURSDAY, DECEMBER 2, 2021; 8:33 A.M.
 4 Exhibit 1         Huei-Hung (Chris) Liao        11
                 - Senior Staff Software                                             3                 ---o0o---
 5               Engineer - Google _
                 LinkedIn
                                                                                     4        THE VIDEOGRAPHER: Good morning. We are on
 6                                                                                   5 the record. The time is 8:33 a.m. The date today is           08:33
     Exhibit 2                                     14
 7               Design Doc -                                                        6 December 2nd, 2021.                               08:33
                 DavidMonseesVol2_30
                                                                                     7        Please note the microphones are sensitive and 08:33
 8
 9 Exhibit 3       Clear version of           17                                     8 may pick up whispering and private conversations.                08:34
                 GOOG-CALH-00030031
10               Mental map illustration                                             9        Audio and video recording will continue to           08:34
11                                                                                  10 take place unless all parties agree to go off the         08:34
     Exhibit 4       Ads Identity and     22
12               Infrastructure - Q4 2020                                           11 record.                                  08:34
                 - GOOG-CALH-00374314
13                                                                                  12        This is Media Unit 1 of the video-recorded           08:34
     Exhibit 5      RTB Privacy DRX Review      41                                  13 deposition of Chris Liao, taken by counsel for plaintiff 08:34
14               - GOOG-CABR-00892126
15 Exhibit 6        Chrome Transmissions to   46                                    14 in the matter of -- matters of Patrick Calhoun, et al.        08:34
                 Google - DavidMonseesVol2_40
16
                                                                                    15 versus Google, LLC, filed in the United States District 08:34
   Exhibit 7       GOOG-CALH-00054260 -                  66                         16 Court for the Northern District of California, San Jose 08:34
17                    Data Parameters
18 Exhibit 8             to     and Back -          86                              17 division, Case No. 5 colon 20-CV-05146-LHK (SVK), and                    08:34
                 Mental Model
                                                                                    18 Jason Brown, et al. versus Google, LLC, filed in the            08:34
19
     Exhibit 9   Email - Estimated Revenue 147                                      19 United States District Court for the Northern District          08:34
20            Impact if ZWBK
              Mitigations Dont Land                                                 20 of California, San Jose division, Case No. 5 colon             08:34
21            - GOOG-CABR-05292934
                                                                                    21 20-CV-03664-LHK.                                    08:34
22 Exhibit 10     Ads Impact from              159
              - Dec 18 2019 -                                                       22        The deposition is being conducted using            08:34
23            GOOG-CALH-00160127
24 Exhibit 11     Chris Working Slides -  163                                       23 Remote Counsel technology and all participants are               08:34
              GOOG-CABR-05279094                                                    24 attending remotely.                             08:35
25            (with metadata)
   ///                                                                              25        My name is David West. I am the videographer. 08:35
                                                                           Page 6                                                               Page 8

 1 Exhibit 12            Cafe Tab - 2021-11-18                 177                   1 The court reporter is Kathryn Schmidt. We represent              08:35
                     Calhoun Omnibus Sheet
 2                                                                                   2 Veritext Legal Solutions.                         08:35
     Exhibit 13          AEO 2021-09-17 Calhoun                     184              3        I'm not related to any party in this action,     08:35
 3                   v. Google -Google
                                                                                     4 nor am I financially interested in the outcome.             08:35
                     Submission
 4                                                                                   5        Counsel will now state their appearances and           08:35
     Exhibit 14          Instantiate PrivacyInfo              192                    6 affiliations for the record. If there are any           08:35
 5                   from Log - GOOG-CABR-
                                                                                     7 objections to proceeding, please state them at the time 08:35
                     00892310
 6                                                                                   8 of your appearance, beginning with the noticing               08:35
     Exhibit 15         Request Processing  193                                      9 attorney.                                 08:35
 7            Flow - GOOG-CABR-03666182
 8 Exhibit 16      Life of a GPT Ad Request  199                                    10        MR. BARNES: Thank you, Mr. West.                       08:35
              - GOOG-CABR-00059481                                                  11        Jay Barnes from Simmons Hanly Conroy, on                 08:35
 9                                                                                  12 behalf of the Calhoun plaintiffs.                     08:35
   Exhibit 17      The ZWBK Carveout -       204
10            GOOG-CABR-05295318                                                    13        Also here today with me is An Truong from              08:35
11 Exhibit 18      Building Toward Complex    205                                   14 Simmons Hanly Conroy, and Lesley Weaver from BFA on                       08:35
              Yet Resilient Identity -                                              15 behalf of the Calhoun plaintiffs.                     08:35
12            GOOG-CABR-04696440
13               ---o0o---                                                          16        MR. MAO: This is Mark Mao of                       08:35
14                                                                                  17 Boies Schiller Flexner, appearing for the Brown versus            08:35
15
                                                                                    18 Google clients.                              08:35
16
17                                                                                  19        Also with me of Boies Schiller Flexner I see         08:35
18                                                                                  20 is Beko Richardson and Erika Nyborg-Burch of my firm.                 08:35
19
                                                                                    21        And we also have Lilian Dye, who is one of our 08:36
20
21                                                                                  22 consultants.                               08:36
22                                                                                  23        MR. ANSORGE: Josef Ansorge, Quinn Emanuel,                     08:36
23
24                                                                                  24 for Google.                                08:36
25                                                                                  25        And I'm joined today by Tracy Gao, also              08:36
                                                                           Page 7                                                                            Page 9

                                                                                                                                           3 (Pages 6 - 9)
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 1 __ Federal R&S Requested (FRCP 30(e)(1)(B)) - Locked .PDF
 2   Transcript - The witness should review the transcript and
 3   make any necessary corrections on the errata pages included
 4   below, notating the page and line number of the corrections.
 5   The witness should then sign and date the errata and penalty
 6   of perjury pages and return the completed pages to all
 7   appearing counsel within the period of time determined at
 8   the deposition or provided by the Federal Rules.
 9 _x_ Federal R&S Not Requested - Reading & Signature was not
10   requested before the completion of the deposition.
11
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                                                                                                56 (Page 218)
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                                                      Deposition Errata
                             Case: Calhoun, et al. v. Google LLC.; Brown, et al. v. Google LLC
                                                   Deponent: Chris Liao
                                         Date of Deposition: December 2, 2021

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              49:21           DoubleClick dot net               doubleclick.net               Transcription Error
              49:22           Google dot com                    Google.com                    Transcription Error
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              65:18           Google dot com                    Google.com                    Transcription Error
              70:9            DoubleClick dot net               Doubleclick.net               Transcription Error
              73:10           Google dot com                    Google.com                    Transcription Error
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              91:25           Google dot com                   Google.com                   Transcription Error
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                                                                                    1/5/2022

                                CHRIS LIAO                                          DATE
